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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 CFL TECHNOLOGIES LLC,

                Plaintiff,
                                                            C.A. No. 18-1444-RGA
         V.

 GENERAL ELECTRIC COMPANY and
 GE LIGHTING, LLC,

                Defendants.



                                 SCHEDULING ORDER

        This l lth day of September, 2019, the Court having conducted an initial Rule

 16(b) scheduling conference pursuant to Local Rule 16.1 (b ), and the parties having

 determined after discussion that the matter cannot be resolved at this juncture by

 settlement, voluntary mediation, or binding arbitration;

 IT IS ORDERED that:

        1.      Rule 26(a)(l) Initial Disclosures. Unless otherwise agreed to by the parties,

 the parties shall make their initial disclosures pursuant to Federal Rule of Civil Procedure

 26(a)(l) within 30 days of the date of this Order.

        2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join

 other parties, and to amend or supplement the pleadings, shall be filed on or before

 October 13, 2020.




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         3.       Discovery.



         A bifu ated discovery schedule that prioritizes discovery of Patentee's failure to

 mark under 35 U .. C. § 287 over all other issues in this case will conserve both judicial

 resources and the res urces of the parties. Each asserted patent contains o y apparatus

 claims and expired prio to the filing of the Complaint on Sept. 17, 20

 patent is expired, there can e no post-suit damages. Thus, whet         Plaintiff has satisfied

 its obligation to comply wit       the marking statute is lik       a case-dispositive issue

  because, absent compliance with t e marking statute, Pl · tiff is not entitled to any relief.




  Uniboard from collecting damages" .

  bifurcated schedule as no addition    damages are ccruing and because of the seven year

 delay between the Therasense decision in 2011 a           the filing of these cases in 2018 .

 Importantly, virtually all o the discovery necessary t assess Plaintiffs' failure to mark

 lies exclusively in Plai 1ffs' control and should pose nob

         Plaintiff alle es that they, and their predecessors in inte st in the patents at issue,

  have complied      th 35 U.S.C. § 287(a) and are entitled to pre-sui damages, which are

  the only da     ges available to Plaintiff.   However, Plaintiff has not \ lead that their

 licensees omplied with the marking statute. Arctic Cat Inc. v. Bombardiir'-!;ec. Prods. ,

  876 F.3d 1350, 1366 (Fed. Cir. 2017) ("A patentee' s licensees must also com)?ly with §
                                                                                     \
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 287, because t        statute extends to ' persons making or selling any patented article for

 under [the patent e].""). It is undisputed that Phillips Electronics North Americ , Corp.

                            ical Consumer Products, Inc. ("TCP") are licensees t , at least, the

 '680 and the ' 681 Pat       ts. 1 On information and belief, Phillips' and TC        s licenses cover

 all of the patents-in-suit. Phillips and TCP sold compact fluoresc               t lamps ("CFL") in

 the United States that are s        ilar to the CFLs accused of infrin      ment in this case before

 the patents-in-suit expired. D endant General Electric Co . (" GE") identified several

 dozen products sold by Phillip under authority of its icense to the Nilssen patents.

 Plaintiff bears the burden of proo to show that its li ensees complied with the marking

 statute or that the products identifie by GE, if u           arked, do not fall within any claim of

 the patents-in-suit. Arctic Cat Inc. , 8 6 F.3d t 1369 ("It is the patentee who bears the




 within the patent claims.").

           To conserve both the p                                                 Defendants seek an

 expedited discovery schedule          garding Marking as follows:

           1.                        in this case related t Marking under 35 U.S.C. § 287 be

 initiated such that it wi be completed on or before Ja uary 17, 2020.

           2.       Any 8ispositive motion related to Mar ·ng under 35 U.S .C. § 287, an

 opening brief, a cl affidavits, if any, in support of the moti          shall be served and filed on




 1   De ndants will make copies of the exhibits showing the existence of these It enses available for
 r    1ew at the Rule 16(b) scheduling conference.


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           3.     p;_ status conference shall be held on April 6, 2020, to determine whether

 discovery on issue other than marking should proceed.

           Plaintiffs Po ·tion on Bifurcation of Discove :

           Plaintiff oppose bifurcation because the marking issue Defendants int



           First, each Defendan had notice of infringement at least        ·thin prior complaints

 filed over a decade ago for all                                       es actual notice under the

 express words of 35 U.S.C.                                       e claimable damages period

 regardless of hypothetical altem tive questions                 whether marking additionally

 supplied constructive notice. Wheth                     ps sold products covered by the '464,

 ' 140, ' 681 or ' 680 patents is, thus, irr evant. o the extent there may be a marking issue

 for the ' 213 patent, that would not warr        olding up the rest of the case.

           Second, even if this case sol     I   volved the ' 213 patent (which it does not), to

 ascertain whether a ' 213 patent li nsee s ld an unmarked product covered by a claim of

 a given patent requires a clai1 constructio . The marking statute does not bar damages

 simply because a patent · licensed; rather the licensee must actually sell products

 covered by the license patent. Without a cla            construction, the Court likely cannot

 make that assessme t. Relatedly, it is inefficient o have a claim construction without

 knowing what th validity, infringement and other c im coverage issues are. Otherwise,

                   e construing claim limitations that make o difference to disputed liability

 issues.

            hird, defendants incorrectly state that CFL T p ssesses "virtually all the

 dis very necessary to assess .. . failure to mark ... ." C            T does possess license




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                         merits issue 1s whether a licensee (e.g. , TCP or Philips)

 licensed products overed by a licensed patent. Most likely, third party dis         very by

 defendants (e .g. , of T P and Philips) will be necessary for defendants to cquire samples

 and/or other product inti mation sold during the relevant time p 10ds to sustain their

 burden of production that            permit the Court to           ine claim coverage. In

 the Arctic Cat decision cited                               1 Circuit warned, "Permitting

 infringers to allege failure to mark w· hout identify" g any products could lead to a large

 scale fishing expedition and gamesma ship." '/1.rctic Cat v. Bombardier Recreational

 Prods., 876 F.3d 1350, 1368 (Fed. Cir. 2

 burden of production to identify

                                    ." Id. Note that t is burden of production requires a true

 "belief" by the alleged infr· ger about claim covera , not merely an arguendo adoption

 of patentee contentio                                       This will beneficially minimize

 alleged infringer " amesmanship" over the issue that the

        In s   rt, nothing about the marking defense in th         litigation makes it case

 disposif e, or a reasonable candidate for bifurcation and additio al delay in bringing this



        4. ~ ~ e d u i e i\bsent Bififfll':atio.u:

               a.        Discovery Cut Off. All discovery in this case shall be initiated so

 that it will be completed on or before December 14, 2020.

               b.        Document Production. Document production shall be substantially

 complete by August 28, 2020.




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                C.      Requests for Admission. A maximum of 50 requests for admission

 are permitted for each side.      Requests for admission relating to authentication of

 documents are not included in this limit.

                d.      Interrogatories. A maximum of 25 interrogatories, including

 contention interrogatories, are permitted for each side.

                e.      Depositions.

                        1.      Limitation on Hours for Deposition Discovery. Each side is

 limited to a total of 70 hours of taking testimony by deposition upon oral examination,

 including pursuant to Rule 30(b)(6).

                        11.     Location of Depositions. Any party or representative

 (officer, director, or managing agent) of a party filing a civil action in this district court

 must ordinarily be required, upon request, to submit to a deposition at a place designated

 within this district. Exceptions to this general rule may be made by order of the Court or

 by agreement of the parties. A defendant who becomes a counterclaimant, cross-claimant,

 or third-party plaintiff shall be considered as having filed an action in this Court for the

 purpose of this provision. The Parties stipulate that the deposition of any fact witness,

 including witnesses being deposed pursuant to Rule 30(b)(6), will take place within the

 district in which they reside, unless the parties agree otherwise or by Court order.

                f.      Discovery Matters and Disputes Relating to Protective Orders.

 Should counsel find they are unable to resolve a discovery matter or a dispute relating to

 a protective order, the parties involved in the discovery matter or protective order dispute

 shall contact the Court's Case Manager to schedule an in-person conference/argument.

 Unless otherwise ordered, by           no   later than     forty-eight   hours   prior to the




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 conference/argument, the party seeking relief shall file with the Court a letter, not to

 exceed three pages, outlining the issues in dispute and its position on those issues. By no

 later than twenty-four hours prior to the conference/argument, any party opposing the

 application for relief may file a letter, not to exceed three pages, outlining that party's

 reasons for its opposition. Should any document(s) be filed under seal, a courtesy copy of

 the sealed document(s) must be provided to the Court within one hour of e-filing the

 document(s) .

        If a discovery-related motion is filed without leave of the Court, it will be denied

 without prejudice to the moving party's right to bring the dispute to the Court through the

 discovery matters procedures set forth in this Order.

        5. Default Standard for Discovery; Case Narrowing. The Parties agree that the

 Default Standard for Discovery, Including Discovery of Electronically Stored

 Information ("ESI") in the District shall apply to this action. In their initial infringement

 chart, Plaintiff shall narrow the claims asserted against each Defendant Group to no more

 than 25 total claims.

        6. Application to Court for Protective Order. Should counsel find it will be

 necessary to apply to the Court for a protective order specifying terms and conditions for

 the disclosure of confidential information, counsel should confer and attempt to reach an

 agreement on a proposed form of order and submit it to the Court within ten days from

 the date of this Order. Should counsel be unable to reach an agreement on a proposed

 form of order, counsel must follow the provisions of Paragraph 3(g) above.

        Any proposed protective order must include the following paragraph:

        Other Proceedings. By entering this order and limiting the disclosure of
        information in this case, the Court does not intend to preclude another court from



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        finding that information may be relevant and subject to disclosure in another case.
        Any person or party subject to this order who becomes subject to a motion to
        disclose another party's information designated as confidential pursuant to this
        order shall promptly notify that party of the motion so that the party may have an
        opportunity to appear and be heard on whether that information should be
        disclosed.

        7.      Papers Filed Under Seal. When filing papers under seal, counsel shall

 deliver to the Clerk an original and one copy of the papers. A redacted version of any

 sealed document shall be filed electronically within seven days of the filing of the sealed

 document.

        8.      Courtesy Copies. The parties shall provide to the Court two courtesy

 copies of all briefs and one courtesy copy of any other document filed in support of any

 briefs (i.e., appendices, exhibits, declarations, affidavits etc.). This provision also applies

 to papers filed under seal.

        9.      Claim Construction Issue Identification. On or before May 22, 2020, the

 parties shall exchange a list of those claim term(s)/phrase(s) that they believe need

 construction and their proposed claim construction of those term(s)/phrase(s). This

 document will not be filed with the Court. Subsequent to exchanging that list, the parties

 will meet and confer to prepare a Joint Claim Construction Chart to be filed no later than

 June 12, 2020. The Joint Claim Construction Chart, in Word or WordPerfect format, shall

 be e-mailed simultaneously with filing to rga_civil@ded.uscourts.gov. The parties ' Joint

 Claim Construction Chart should identify for the Court the term(s)/phrase(s) of the

 claim(s) in issue, and should include each party's proposed construction of the disputed

 claim language with citation(s) only to the intrinsic evidence in support of their

 respective proposed constructions. A copy of the patent(s) in issue as well as those




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  portions of the intrinsic record relied upon shall be submitted with this Joint Claim

  Construction Chart. In this joint submission, the parties shall not provide argument.

         10.     Claim Construction Briefing. The Plaintiff shall serve, but not file, its

  opening brief, not to exceed 20 pages, on June 26, 2020. The Defendant shall serve, but

  not file, its answering brief, not to exceed 30 pages, on July 17, 2020. The Plaintiff shall

  serve, but not file, its reply brief, not to exceed 20 pages, on July 31 , 2020. The

  Defendant shall serve, but not file, its sur-reply brief, not to exceed 10 pages, on August

  14, 2020. No later than August 21 , 2020, the parties shall file a Joint Claim Construction

  Brief. The parties shall copy and paste their unfiled briefs into one brief, with their

  positions on each claim term in sequential order, in substantially the form below.

                 JOINT CLAIM CONSTRUCTION BRIEF

    I.   Agreed-upon Constructions

   II.   Disputed Constructions

  A. [TERM 1]
      1. Plaintiffs Opening Position
      2. Defendant's Answering Position
      3. Plaintiffs Reply Position
      4. Defendant's Sur-Reply Position

  B. [TERM 2]
      1. Plaintiffs Opening Position
      2. Defendant's Answering Position
      3. Plaintiffs Reply Position
      4. Defendant's Sur-Reply Position

  Etc. The parties need not include any general summaries of the law relating to claim

  construction. If there are any materials that would be submitted in an appendix, the

  parties shall submit them in a Joint Appendix.




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           11.   Hearing on Claim Construction. Beginning at q__: 110 { .m. on September

 '11_, 2020 the Court will hear argument on claim construction. Absent prior approval of

  the Court (which, if it is sought, must be done so by joint letter submission no later than

  the date on which answering claim construction briefs are due), the parties shall not

  present testimony at the argument, and the argument shall not exceed a total of three

  hours.

           12.   Disclosure of Expert Testimony.

                 a.     Expert Reports. For the party who has the initial burden of proof

  on the subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is

  due on or before January 15, 2021. The supplemental disclosure to contradict or rebut

  evidence on the same matter identified by another party is due on or before February 12,

  2021 . Reply expert reports from the party with the initial burden of proof are due on or

  before March 5, 2021. No other expert reports will be permitted without either the

  consent of all parties or leave of the Court. Along with the submissions of the expert

  reports, the parties shall advise of the dates and times of their experts' availability for

  deposition. Depositions of experts shall be completed on or before April 9, 2021.

                 b.     Objections to Expert Testimony. To the extent any objection to

  expert testimony is made pursuant to the principles announced in Daubert v. Merrell

  Dow Pharm., Inc. , 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702,

  it shall be made by motion no later than the deadline for dispositive motions set forth

  herein, unless otherwise ordered by the Court.

           13.   Case Dispositive Motions. All case dispositive motions, an opening brief,

  and affidavits, if any, in support of the motion shall be served and filed on or before May




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  7, 2021. No case dispositive motion under Rule 56 may be filed more than ten days

  before the above date without leave of the Court.

         14.     Applications by Motion. Except as otherwise specified herein, any

  application to the Court shall be by written motion. Any non-dispositive motion should

  contain the statement required by Local Rule 7 .1 .1.

         15.     Pretrial Conference. On September l!j_, 2021 the Court will hold a Rule

  16(e) final pretrial conference in Court with counsel beginning at~ : ~ ~ m. The parties

  shall file a joint proposed final pretrial order in compliance with Local Rule 16.3(c) no

  later than 5 p.m. on the third business day before the date of the final pretrial conference.

  Unless otherwise ordered by the Court, the parties shall comply with the timeframes set

  forth in Local Rule 16.3(d) for the preparation of the proposed joint final pretrial order.

         16.     Motions in Limine. Motions in limine shall not be separately filed. All in

  limine requests and responses thereto shall be set forth in the proposed pretrial order.

  Each party shall be limited to three in limine requests, unless otherwise permitted by the

  Court. The in limine request and any response shall contain the authorities relied upon;

  each in limine request may be supported by a maximum of three pages of argument and

  may be opposed by a maximum of three pages of argument, and the party making the in

  lirnine request may add a maximun1 of one additional page in reply in support of its

  request. If more than one party is supporting or opposing an in limine request, such

  support or opposition shall be combined in a single three page submission (and, if the

  moving party, a single one page reply) . No separate briefing shall be submitted on in

  limine requests, unless otherwise permitted by the Court.




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          17.    Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is

  to be tried to a jury, pursuant to Local Rules 47.l(a)(2) and 51.1 , the parties should file (i)

  proposed voir dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv)

  special verdict forms no later than 5 p.m. on the third business day before the date of the

  final pretrial conference. The parties shall submit simultaneously with filing each of the

  foregoing     four      documents       m        Word    or     WordPerfect       format      to

  rga_ ci vil@ded .uscourts .gov.

          18.    Trial. This matter is scheduled for a 5-day jury trial beginning at 9:30 a.m.
     Dctubv.
  on November     le> , 2021 , with the subsequent trial days beginning at 9:30 a.m. Until the
  case is submitted to the jury for deliberations, the jury will be excused each day at 4:30

  p.m. The trial will be timed, as counsel will be allocated a number of hours in which to

  present their respective cases.

          19.     ADR Process. This matter is referred to a magistrate judge to explore the

  possibility of alternative dispute resolution.




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